Case 9:07-cv-00480-LEK-DEP             Document 31        Filed 01/29/08       Page 1 of 5




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

NATHAN BROWN,
                                       Plaintiff,
               -v.-                                                            9:07-CV-0480
                                                                                (LEK)(DEP)
DALE ARTUS, Superintendent; LINDA TURNER, Deputy
Superintendent; R.J. MINOGUE, Captain; JOHN DOE,
Corrections Sergeant; JOHN DOE, Corrections Officer;
and JOHN DOE, Corrections Officer,

                                       Defendants.

APPEARANCES:                                           OF COUNSEL:

NATHAN BROWN, Pro Se

OFFICE OF THE ATTORNEY GENERAL                         CHRISTINA L. ROBERTS-RYBA, ESQ.
State of New York                                      Assistant Attorney General
The Capitol
Albany, NY 12224
Counsel for Defendants

DAVID E. PEEBLES
U.S. MAGISTRATE JUDGE

                                      DECISION AND ORDER

       Presently before the Court are four motions to compel discovery filed by pro se plaintiff

Nathan Brown. Dkt. Nos. 16, 21, 23, and 24. Defendants have responded to all of the motions.

Dkt. Nos. 18, 22, 25, and 26. Plaintiff has replied to defendants’ responses. Dkt. Nos. 28, 29.

I.     First Motion to Compel

       Plaintiff’s first motion to compel relates to plaintiff’s first request for production of

documents (“RFP”) dated July 20, 2007 and his first request for interrogatories addressed to

defendant Turner. Dkt. No. 16 at 3. Plaintiff states that, as of the date of his motion, no response

had been provided to these discovery requests. Id. at 4. Defendants oppose plaintiff’s first motion

to compel. Dkt. No. 18. Defendants’ counsel states that on September 25, 2007, responses to
Case 9:07-cv-00480-LEK-DEP              Document 31        Filed 01/29/08       Page 2 of 5




plaintiff’s first RFP and the Turner interrogatories were served on plaintiff. Id. Plaintiff did not

object to the responses after he received them, and has not indicated that he believes the responses

to be incomplete, or that the objections stated thereto are not legally sufficient. Although defendants

have failed to provide the court with copies of their responses, it is telling that plaintiff has not taken

exception to defendants’ assertion that they have responded to plaintiff’s discovery requests.

Accordingly, plaintiff’s first motion to compel (Dkt. No. 16) is denied as moot. See, e.g., Hamilton

v. Poole, No. 95-CV-239H, 1997 WL 626406, at *6 (W.D.N.Y. Sep. 22, 1997) (denying motion to

compel filed by plaintiff where defendants responded to discovery after motion was filed).

II.    Second Motion to Compel

       Plaintiff’s second motion to compel relates to plaintiff’s first request for interrogatories

addressed to defendant Minogue dated August 6, 2007 and first request for interrogatories addressed

to defendant Artus dated August 24, 2007. Dkt. No. 21 at 3. Plaintiff states that, as of the date of

his motion, no response had been provided to these discovery requests. Id. at 4. Defendants

submitted papers in opposition to plaintiff’s second motion to compel. Dkt. No. 22. Defendants’

counsel states that on October 11 and 24, 2007, respectively, responses to plaintiffs Minogue and

Artus’s interrogatories were served on plaintiff. Id.

       Plaintiff did not object to the responses after he received them, and has not indicated that he

believes the responses to be incomplete, or that the objections stated thereto are not legally

sufficient. Although defendants have failed to provide the court with copies of the Minogue

responses,1 it is telling that plaintiff has not taken exception to defendants’ assertion that they have


       1
                Defendants did provide the court with a copy of the Artus response to the first set of
interrogatories. Dkt. No. 25. In light of plaintiff’s pro se status, the court has reviewed the response
and has determined that defendants substantially complied with plaintiff's discovery request or
stated valid objections thereto.

                                                    2
Case 9:07-cv-00480-LEK-DEP              Document 31         Filed 01/29/08        Page 3 of 5




responded to plaintiff’s discovery requests. Accordingly, plaintiff’s second motion to compel (Dkt.

No. 21) is denied as moot. See, e.g., Hamilton, 1997 WL 626406, at *6.

III.   Third and Fourth Motions to Compel

       Plaintiff’s third motion to compel relates to plaintiff’s second request for interrogatories

addressed to defendant Artus dated September 17, 2007. Dkt. No. 23 at 1. Plaintiff’s fourth motion

to compel relates to plaintiff’s third request for interrogatories addressed to defendant Artus dated

October 1, 2007. Dkt. No. 24 at 1. Plaintiff states that, as of the date of his motions, no response

had been provided to these discovery requests. Dkt. No. 23 at 4; Dkt. No. 24 at 5. Defendants

oppose both of these motions. Dkt. Nos. 25, 26.

       Defendants’ counsel states:

       Plaintiff sent a first set of interrogatories dated August 24, 2007 to Defendant Dale Artus.
       The first set included 28 interrogatories including subparts. Defendant Artus responded to
       the first set and they were mailed to the plaintiff. See Exhibit A. Plaintiff sent a second
       request for interrogatories upon Dale Artus dated September 17, 2007. See Exhibit B.
       Pursuant to the Federal Rules of Civil Procedure 33, interrogatories cannot exceed 25 in
       number including all discrete sub-parts. Accordingly, due to the fact that Defendant Artus
       has already responded to 28 written interrogatories, plaintiff is not entitled to additional
       ones and therefore plaintiff’s motion to compel should be denied.

Dkt. No. 25 at 1; see also Dkt. No. 26 (arguing that the fourth motion to compel should also be

denied because plaintiff seeks to propound in excess of 25 interrogatories).

       Federal Rules of Civil Procedure Rule 33(a)(1) states

       [u]nless otherwise stipulated or ordered by the court, a party may serve on any other
       party no more than 25 written interrogatories, including all discrete subparts. Leave
       to serve additional interrogatories may be granted to the extent consistent with Rule
       26(b)(2).

Fed. R. Civ. P. 33(a)(1).

       As one district court within this Circuit has observed,

       courts have held that interrogatory subparts are to be counted as discrete subparts if

                                                     3
Case 9:07-cv-00480-LEK-DEP             Document 31         Filed 01/29/08      Page 4 of 5




       they are not logically or factually subsumed within and necessarily related to the
       primary question. Thus, [i]f the first question can be answered fully and completely
       without answering the second question, then the second question is totally
       independent of the first and not factually subsumed within and necessarily related to
       the primary question. On the other hand, multiple interrelated questions may
       constitute a single interrogatory even though it requests that the time, place, persons
       present, and contents be stated separately.

Cramer v. Fedco Automotive Components Co., Inc., No. 01-CV-0757E, 2004 WL 1574691, *4

(W.D.N.Y. May 26, 2004) (citations and internal quotations omitted).

       The court has reviewed the first set of Artus interrogatories and finds that, including discreet

subparts, they amount to 26 in number.2 The second and third sets of interrogatories include a total

of, at most, 6 interrogatories. Dkt. No. 23 at 6; Dkt. No. 24 at 8-9.

       The court must now decide whether to permit the excess interrogatories.3 The

interrogatories do not appear to be particularly onerous. Plaintiff is only asking for an additional

seven interrogatories above the limit. Plaintiff is incarcerated; therefore, other forms of discovery,

such as oral depositions, are not readily available or affordable to plaintiff. For these reasons, I find

that plaintiff should be allowed to propound the excess interrogatories to defendant Artus.

Defendant Artus shall respond to the second and third set of interrogatories dated September 17,

2007 and October 1, 2007, respectively, in accordance with the Federal Rules on or before February

29, 2008. Nothing in this order constitutes a determination of the merits of any of the proposed

interrogatories. Defendants are free to assert any appropriate objection to the interrogatories, other



       2
               Plaintiff himself, seems to admit that the first set of the Artus interrogatories number
28, including discreet subparts. Dkt. No. 28.
       3
                Plaintiff states that defendants objected to many of the requests in the first set of
interrogatories and thus answered only 16 of them. Dkt. No. 28. Plaintiff argues that he should
therefore be allowed to propound 9 more interrogatories to Artus to replace those not answered. Id.
This argument is without merit.

                                                    4
Case 9:07-cv-00480-LEK-DEP              Document 31        Filed 01/29/08      Page 5 of 5




than an objection based on the number of interrogatories.

         Plaintiff’s third and fourth motions to compel are therefore granted to the extent that

defendant Artus must, on or before February 29, 2008, provide responses to the second and third set

of interrogatories dated September 17, 2007 and October 1, 2007.

         WHEREFORE, it is hereby

         ORDERED, that plaintiff’s first motion to compel (Dkt. No. 16) is DENIED as moot, and

it is further

         ORDERED, that plaintiff’s second motion to compel (Dkt. No. 21) is DENIED as moot, and

it is further

         ORDERED, that plaintiff’s third and fourth motions to compel (Dkt. No. 23, 24) are

GRANTED as set forth above, and it is further

         ORDERED, that the Clerk serve a copy of this Decision and Order on the parties in

accordance with the Local Rules.

IT IS SO ORDERED.




Dated:          January 29, 2008
                Syracuse, New York




                                                    5
